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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


MATTHEW DAVIS,                                )
         Movant,                              )
                                              )
          v.                                  )       Docket No. 08 – CR – 10166 – RGS
                                              )
UNITED STATES OF AMERICA,                     )
          Respondent.                         )


  MOTION TO CORRECT SENTENCE PURSUANT TO 28 U.S.C. § 2255 AND
   Johnson v. United States, 135 S. Ct. 2551 (2015), AND MOTION TO STAY

          Movant Matthew Davis, through undersigned counsel, respectfully moves this

Court to vacate and correct his sentence pursuant to 28 U.S.C. § 2255 and Johnson v.

United States, 135 S. Ct. 2551, 2563 (2015). Mr. Davis previously filed a § 2255 motion,

and accordingly, on May 17, 2016 he filed an application before the First Circuit for

permission to file a second or successive § 2255 motion. See Matthew Davis v. United

States, No. 16-1569 (1st Cir.)]. The First Circuit has not ruled on Mr. Davis’ application.

He, therefore, further moves this Court for an order staying these proceedings until the

First Circuit rules, at which point the Court may set a schedule for the filing of

substantive memoranda. Thereafter, Mr. Davis will file a memorandum in support.

          In Johnson, the Supreme Court struck the residual clause of the Armed Career

Criminal Act (“ACCA”), see 18 U.S.C. § 924(e)(2)(B)(ii), as unconstitutionally vague.

In Welch v. United States, 136 S. Ct. 1257 (2016), the Supreme Court held that the rule

announced in Johnson is substantive and therefore retroactive to cases on collateral

review.
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         On April 9, 2009, Mr. Davis pleaded guilty to Possession of a Cocaine Base with

Intent to Distribute; Aiding and Abetting in violation of 21 U.S.C. § 841(a)(1) and 18

U.S.C. § 2. On July 9, 2009, the district court sentenced Mr. Davis to a term of 84

months’ imprisonment after finding that he was a career offender under U.S.S.G. §§

4B1.1 and 4B1.2. The district court found Mr. Davis to be a career offender after

adopting the finding of the presentence report that his instant offense was a “controlled

substance offense” and that he had at least two qualifying prior convictions that

supported the career offender enhancement Mr. Davis was deemed a career offender on

the basis of the following predicate convictions:

    1. Assault and Battery [PSR ¶ 39]

    2. Resisting Arrest [PSR ¶ 36]

         The residual clause of the career offender guideline, see U.S.S.G. § 4B1.2(a)(2),

is identical to the ACCA residual clause struck in Johnson. 1 It follows that the rule in

Johnson applies to the career offender residual clause, and should be given retroactive

effect. See In re Hubbard, No. 15-276, 2016 WL 3181417 (4th Cir. June 8, 2016); Stork

v. United States, No. 15–2687, 2015 WL 5915990 (7th Cir. Aug. 13, 2015) (unpub.);

United States v. Ramirez, No. 10-10008-WGY, 2016 WL 3014646 (D.Mass. May 24,

2016).

         The issue remaining is whether Mr. Davis’ prior convictions satisfy the career

offender “force clause,” see U.S.S.G. § 4B1.2(a)(1), or qualify as enumerated offenses.




1
 Indeed the U.S. Sentencing Commission amended the “crime of violence” definition at
§4B1.2(a) in 1989 to adopt the ACCA’s definition of “violent felony.” See USSG App.
C, Amend. 268.

                                              2
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See U.S.S.G. § 4B1.2(a)(2). A&B and Resisting Arrest are not crimes of violence post-

Johnson because they satisfy neither the force nor the enumerated offenses clauses.



                                      CONCLUSION

       Mr. Davis is not a career offender, and therefore, he moves this Court to vacate

his sentence and resentence him accordingly. He further moves this Court for an order

staying these proceedings until the First Circuit has ruled on his application to file a

second or successive § 2255 motion. Thereafter, Mr. Davis will file a memorandum in

support.



                                                       Respectfully Submitted,
                                                       MATTHEW DAVIS
                                                       By his attorney,

                                                       /s/ Jessica P. Thrall
                                                       Jessica P. Thrall
                                                       B.B.O. #670412
                                                       Federal Defender Office
                                                       51 Sleeper Street, 5th Floor
                                                       Boston, MA 02210
                                                       617 – 223- 8061




                               CERTIFICATE OF SERVICE

        I, Jessica P. Thrall hereby certify that this document filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) on June 22, 2016

                                                       /s/ Jessica P. Thrall
                                                       Jessica P. Thrall




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